Case 5:24-cr-00503-DNH Document1 Filed 12/18/24 Page1of7

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA ) Criminal No. 5 :24-CR- 503 (pNH)
)
v. ) Indictment
)
EMILIO CHIRICO, ) Violations: 18 U.S.C. § 1343
) [Wire Fraud]; 18 U.S.C.
) § 1711 [Misappropriation of
) Postal Funds; 18 U.S.C.
) § 2073 [False Entries and
) Reports]
)
)
) 10 Counts & Forfeiture Allegation
)
Defendant. ) County of Offense: Onondaga

THE GRAND JURY CHARGES:
Background

1. During the period from May 2012 through March 2023, EMILIO CHIRICO was
employed by the United States Postal Service (“USPS”) as a station manager at the Dewitt Post
Office in Onondaga County, New York. CHIRICO was the custodian for the stamp stock
inventory sold at the Dewitt Post Office.

2. At the Dewitt Post Office, there were two types of stamp stock inventory: the
retail floor stock and the unit reserve. The retail floor stock was the stamp inventory that postal
clerks used for day-to-day retail sales at the Post Office. The retail floor stock was accessible to
postal employees for retail sales and to stock their drawers.

3. The unit stamp stock reserve was a quantity of stamps used to replenish the retail
floor stock. The unit reserve was housed in a safe at the Dewitt Post Office which was under the

exclusive custody and control of CHIRICO. CHIRICO set the combination to the safe; no
Case 5:24-cr-00503-DNH Document1 Filed 12/18/24 Page2of7

other postal employee had access to the unit reserve in the safe. CHIRICO was directly
accountable for all the items in the unit reserve.

4, The USPS tracked stamp inventory in the retail floor stock and the unit reserve
using the USPS retail systems software (“RSS”), with the server housed in Eagan, Minnesota.
At any given time, a query could be done in the RSS to see what stamp stock was in the retail
floor stock or the unit reserve.

5. When the retail floor stock was low on stamps, it was the custodian’s
responsibility to transfer stamps from the unit reserve to the retail floor stock and enter the
transfer in the RSS. Another USPS employee served as a witness to the transfer. The employee
witness was required to log into the RSS and “accept the transfer” which is captured
electronically, and on a USPS Form 17, “Stamp Requisition/Stamp Return” [hereinafter “Form
17”}.

6. Pursuant to USPS protocol, the custodian is required to conduct yearly audits of
the unit reserve together with another USPS employee. During the audit, the custodian and the
other employee must each separately physically count the stamps inside the unit reserve safe and
record the count of the stamps in a report called the USPS Form 3294, “Cash/Stamp Credit
Count Report,” [hereinafter “Form 3294’] which is generated in the RSS.

7. During the audit, the custodian is noted to be counter 1 on the Form 3294, and the
witness is noted to be counter 2. Both counters must log into the RSS using their individual login
and password. The Form 3294 also notes what, according to the computer, stamp stock should
be in the safe when it’s counted (the system count).

8. Following the count, the report is completed, capturing the physical count

summary, which is compared to the system count, to see if there is a shortage or overage. Each
Case 5:24-cr-00503-DNH Document1 Filed 12/18/24 Page 3of7

counter’s signature appears on the Form 3294 electronically once it is submitted through the
RSS. Counter 1 certifies the count to be correct. Counter 2 certifies that they have examined the

cash/stamp credit. The electronic signature of both counters will only appear if both counters are

logged into the RSS.
COUNTS 1-6
[Wire Fraud]
9. The allegations set out in paragraphs 1-8 are hereby incorporated by reference as
if fully set forth herein.

10. From in or around January 2021, through and including March 2023, the
defendant EMILIO CHIRICO, devised and intended to devise a scheme and artifice to defraud
his employer, the USPS, and to obtain property by means of materially false and fraudulent
pretenses, representations, and promises.

Manner and Means

It was part of the scheme and artifice to defraud that:

11. | Beginning on a date unknown, through and including March 2023, Defendant
CHIRICO falsified postal records to conceal the theft of stamp stock from the Dewitt Post
Office.

12. From in or around January 2021, through and including March 2023, Defendant
CHIRICO conducted sham audits of the unit reserve by fraudulently entering another USPS
employee’s login information into the RSS, to make it appear that another employee audited the
unit reserve as counter 2. For each sham audit, CHIRICO completed and submitted through the
RSS a Form 3294 bearing his electronic signature, as counter 1, and the electronic signature of

the USPS employee whose credentials he entered into the RSS as counter 2.
Case 5:24-cr-00503-DNH Document 1

13.

Filed 12/18/24

Page 4 of 7

From in or around October 2021, through and including February 2022,

Defendant CHIRICO initiated sham transfers of stamp stock to and from the unit reserve and

retail floor stock. By falsely lowering the amount of stamp stock that was expected to be in the

unit reserve during an audit or in preparation for an audit and returning the accountability from

the retail floor stock to the unit reserve following an audit, CHIRICO was able to conceal a

shortage of stamp stock in the unit reserve.

14.

On or about each of the dates set forth below, in Onondaga County, in the

Northern District of New York, and elsewhere, Defendant CHIRICO, for the purpose of

executing the scheme described above, caused to be transmitted by means of wire

communication in interstate commerce the following writings, signs, and signals described

below for each count, each transmission constituting a separate count:

Count Date Description Origin: Destination:
1 January 29, 2021 | Audit, Form Dewitt Post Eagan,
3294 Office Minnesota
2 October 26, 2021 | Audit, Form Dewitt Post Eagan,
3294 Office Minnesota
3 October 27, 2021 | Transfer of Dewitt Post Eagan,
$60,372.36 Office Minnesota
stamp stock from
the retail floor
stock to the unit
reserve
4 February 10, Transfer of Dewitt Post Eagan,
2022 $59,194.80 Office Minnesota
stamp stock from
the unit reserve
to the retail floor
stock
5 February 14, Transfer of Dewitt Post Eagan,
2022 $61,746.80 Office Minnesota

stamp stock from
the retail floor
stock to the unit
reserve

Case 5:24-cr-00503-DNH Document1 Filed 12/18/24 Page5of7

6 January 3, 2023 Audit, Form Dewitt Post Eagan,
3294 Office Minnesota

All in violation of Title 18, United States Code, Section 1343.

COUNT 7
[Misappropriation of Postal Funds]

15. The allegations set out in paragraphs 1 through 14 of this indictment are hereby
realleged and incorporated as if fully set forth herein.

16. Between January 2021 and in or around March 2023, in Onondaga County, in the
Northern District of New York, and elsewhere, the defendant EMILIO CHIRICO, a United
States Postal Service employee, did knowingly and unlawfully convert to his own use postal
property in the amount of approximately $81,553.94, said property coming into his hands and
under his control in the execution of his employment as a Postal Service employee; to wit: while
employed as a station manager at the Dewitt Post Office, CHIRICO stole from the Dewitt Post
Office unit stamp stock reserve valued at $81,553.94.

In violation of Title 18, United States Code, Section 1711.

COUNTS 8-10
[False Entries and Reports]

18. The allegations set out in paragraphs 1 through 16 of this indictment are hereby
realleged and incorporated as if fully set forth herein.

18. On or about each of the dates set forth below, in Onondaga County, in the
Northern District of New York, and elsewhere, the defendant EMILIO CHIRICO, a United
States Postal Service employee, who was charged with the duty of keeping accounts and records,

knowingly and unlawfully with intent to deceive, mislead, injure, and defraud, made false and

Case 5:24-cr-00503-DNH Document1 Filed 12/18/24 Page6éof7

fictitious entries and records of any matter relating to and connected to his duties in such

accounts and records, each false and fictitious entry and record constituting a separate count:

Count Date Record Description
8 January 29, Form 3294 L.W. was entered as counter 2 for
2021 the audit.
9 October 26, Form 3294 S.S. was entered as counter 2 for
2021 the audit.
10 January 3, 2023 | Form 3294 G.S. was entered as counter 2 for
the audit.

In violation of Title 18, United States Code, Section 2073.
FORFEITURE ALLEGATION

The allegations contained in Counts 1 through 6 of this indictment are hereby realleged
and incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18, United
States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c).

1. Upon conviction of offenses in violation of Title 18, United States Code, Section
1343, as set forth in Counts 1 through 6 of this indictment, the defendant, EMILIO CHIRICO,
shall forfeit to the United States of America, pursuant to Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any property, real and personal,
which constitutes and is derived from proceeds traceable to the offenses. The property to be

forfeited includes, but is not limited to, the following:

a. a money judgment in the amount of $81,553.94.
2. If any of the property described above, as a result of any act or omission of
CHIRICO:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court;
Case 5:24-cr-00503-DNH Document1 Filed 12/18/24 Page 7 of7

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided
without difficulty,
the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c).

All pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

Dated: December 18, 2024

A TRUE BILL,

CARLA B. FREEDMAN
United States Attorney

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Tamara B. Thomson
Assistant United States Attorney
Bar Roll No. 515310
